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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION


HCB FINANCIAL CORP., et al.                   §                    PLAINTIFFS
                                              §
                                              §
                                              §
                                              §
v.                                            §   Civil No. 1:10cv559-HSO-JCG
                                              §
                                              §
                                              §
                                              §
LEE F. KENNEDY, et al.                        §                   DEFENDANTS



  ORDER DENYING DEFENDANT LEE F. KENNEDY’S MOTION [468] TO
     CLARIFY OR RECONSIDER THE COURT’S ORDER GRANTING
  PLAINTIFF HCB FINANCIAL CORP.’S MOTIONS FOR LEAVE TO FILE
                   DOCUMENTS UNDER SEAL

      BEFORE THE COURT is Defendant Lee F. Kennedy’s Motion [468] to

Clarify or Reconsider the Court’s Order Granting Plaintiff HCB Financial Corp.’s

Motions for Leave to File Documents Under Seal. After due consideration of the

record, relevant legal authority, and Defendant Lee F. Kennedy’s Motion [468], the

Court is of the opinion that the Motion [468] should be denied.

      On July 11, 2013, the Court entered an Amended Final Judgement [148] in

this case against Defendant Lee F. Kennedy (“Kennedy”) and in favor of Plaintiff

HCB Financial Corp. (“HCB”). Since entry of the Court’s Amended Final Judgment,

HCB has engaged in efforts to collect upon the judgment. See ECF Docket, No.

1:10cv559-HSO-JCG. In January 2019, Kennedy sought leave to deposit into the

registry of the Court an amount equal to the judgment plus interest. Mot. [425].

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The Court granted her request to deposit funds and permitted HCB to seek

attorneys’ fees within thirty days of entry of its Order. Order [442].

       In connection with its Reply [456] in support of its Motion [449] for Attorney

Fees and Costs, HCB filed Motions [457] [459] to Seal, asking this Court to permit it

to file two versions of its attorneys’ billing records—a redacted version restricted

only to the litigants’ counsel and an unredacted version under seal for only the

Court’s view. The Court granted these Motions [457] [459], having found that

HCB’s request was supported by clear and compelling reasons and was narrowly

tailored to serve those reasons. Text Only Order, Apr. 23, 2019. Subsequently,

Defendant Kennedy requested that the Court grant her leave to File a Surreply to

respond to HCB’s newly produced attorneys’ billing records. 1 Kennedy then filed

the instant Motion [468], in which she asks the Court to: (1) clarify its April 23,

2019, Text Order, which granted HCB’s Motion [457] [459], to state that “any of

Kennedy’s attorneys may view the partially redacted invoices,” or (2) in the

alternative, reconsider HCB’s Motions [457] [459] to Seal. Mot. [468]; Mem. in

Support [469] at 1.

       In support of Kennedy’s first argument that the Court should permit any

attorney Kennedy may employ to view the invoices, she cites Local Uniform Civil

Rule 79. Mem. in Support [469] at 2. Local Rule 79 requires that parties who seek

to file documents under seal request a specifically enumerated level of access. L.U.



1 Although HCB emailed the Court on May 2, 2019, stating that it opposed this Motion [468] and
intended to file a response, the time for doing so has passed and HCB has not filed any such
response.

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Civ. R. 79(e)(3)(B). HCB sought to file, and the Court permitted her to file, the

redacted billing records sealed “from public access only, with CM/ECF access

permitted to the litigants’ counsel.” Id.; Mot. [458]. Kennedy argues that “litigants’

counsel” must include “any counsel.” Mem. in Support [459] at 2. She states that

she is asking the Court to amend its Order to enable her “Texas counsel” to review

the redacted billing records to assist in preparation of her surreply. Mot. [468] at 2.

Having already filed a Surreply [470], the Court finds that this request is moot and

should be denied as such.

      Kennedy alternatively asks the Court to reconsider its Order granting leave

to file the billing records under seal and argues that the Court should instead deny

HCB’s Motions [457] [459] to Seal. Mem. in Support [469] at 2. Under Rule 54(b),

“the trial court is free to reconsider and reverse its decision for any reason it deems

sufficient, even in the absence of new evidence or an intervening change in or

clarification of the substantive law.” Lavespere v. Niagara Mach. & Tool Works,

Inc., 910 F.2d 167, 185 (5th Cir. 1990) abrogated on other grounds by Little v.

Liquid Air Corp., 37 F.3d 1069, 1075 n.14 (5th Cir. 1994); see Austin v. Kroger

Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017) (finding that Rule 54(b) is applicable

to interlocutory orders).

      Kennedy summarily argues only that “the need for secrecy does not outweigh

the public’s right to access,” and that at present, her attorneys of record are denied

access to these documents. Mem. in Support [469] at 2 (quoting S.E.C. v. Van

Waeyenberghe, 990 F.3d 845, 849 (5th Cir. 1993)). First, Kennedy’s attorneys of



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record in this case do in fact have access to these records and have reviewed them in

preparing her Surrpely [470]. Moreover, the Court is of the opinion that Kennedy’s

stated reason for seeking reconsideration of the Order is insufficient and lacks

merit. In light of the foregoing, Kennedy’s Motion [468] for Reconsideration is not

well taken and will be denied.

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, Defendant Lee

F. Kennedy’s Motion [468] to Clarify or Reconsider the Court’s Order Granting

Plaintiff HCB Financial Corp.’s Motions for Leave to File Documents Under Seal is

DENIED.

      SO ORDERED AND ADJUDGED this the 20th day of May, 2019.


                                       s/ Halil Suleyman Ozerden
                                       HALIL SULEYMAN OZERDEN
                                       UNITED STATES DISTRICT JUDGE




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